439 F.2d 698
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.GLAZER WHOLESALE DRUG COMPANY OF NEW ORLEANS, INC., Respondent.
    No. 30623 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    March 2, 1971.
    
      Application for Enforcement of an Order of The National Labor Relations Board.
      Charles M. Paschal, Jr., Director, Region 15, N. L. R. B., New Orleans, La., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, N. L. R. B., Washington, D. C., Robert E. Williams, Richard Zaiger, Attys., N. L. R. B., Washington, D. C., for petitioner.
      Emil Corenbleth, Dallas, Tex., for respondent.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Enforced. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409, Part I
      
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    